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                                                                                       EXHIBIT A

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MINNESOTA

     IF YOU ARE AN AFRICAN AMERICAN AND ARE OR WERE
    EMPLOYED BY CARGILL, INC., A CLASS ACTION LAWSUIT
                 MAY AFFECT YOUR RIGHTS.


              A court authorized this notice. This is not a solicitation from a lawyer.

    •    Current and former African American employees have sued Cargill, Inc. (“Cargill”)
         alleging race discrimination against African Americans in violation of 42 U.S.C. § 1981.
    •    The Court has allowed the lawsuit to proceed as a class action on behalf of:

                 All salaried African Americans through salary grade 15 who were
                 employed by Cargill at any time during the liability period.
    •    The Court has not decided whether Cargill did anything wrong. There is no money
         available now, and no guarantee there will be. However, if you are a member of the
         class, your legal rights are affected, and you have a choice to make now:
  YOURLEGAL RIGHTS AN
        YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT
                            Stay in this lawsuit. Await the outcome. Give up certain rights.
    DO NOTHING              By doing nothing, you keep the possibility of getting money or benefits that
                            may come from a trial or a settlement. But, you give up any rights to sue
                            Cargill separately about the same legal claims in this lawsuit.
                            Get out of this lawsuit. Get no benefits from it. Keep rights.
        ASK TO BE           If you ask to be excluded and money or benefits are later awarded, you
        EXCLUDED            won’t share in those. But, you keep any rights to sue Cargill separately about
                            the same legal claims in this lawsuit.

  D OPTIONS IN THIS LAWSUIT
    •    Your options are explained in this notice. To ask to be excluded, you must act
         before [INSERT DATE].
    •    Lawyers must prove the claims against Cargill at a trial set to start Month 00,
         0000. If money or benefits are obtained from Cargill, you will be notified about
         how to ask for a share.
    •    Any questions? Read on and visit www.cargillcase.com.
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                                BASIC INFORMATION
  1. Why did I get this notice?
  1.    Why did I get this notice?

  Cargill’s records show that you currently work, or previously worked, for Cargill. This
  Notice explains that the Court has allowed, or “certified,” a class action lawsuit that may
  affect you. You have legal rights and options that you may exercise before the Court
  holds a trial. The trial is to decide whether the claims being made against Cargill, on your
  behalf, are correct. Judge Donovan W. Frank of the United States District Court for the
  District of Minnesota is overseeing this class action. The lawsuit is known as Arnold, et
  al, v. Cargill, Inc., Civil Action No. 01-CV-2086.

  2.      What is this lawsuit about?
  What is this lawsuit about?
  This lawsuit is about whether Cargill discriminated against African American employees
  based on their race, by paying similarly situated non-African Americans more money, by
  not providing training or development opportunities to African American employees that
  were provided to similarly situated non-African Americans, by not promoting African-
  American employees at the same or similar rates or under the same or similar
  circumstances as non-African Americans, by terminating African Americans at greater
  rates and in circumstances where non-African Americans were not terminated, and/or by
  creating or tolerating working conditions which caused African Americans to be forced to
  leave the company. More information about federal laws prohibiting job discrimination
  can be found at the website of the U.S. Equal Employment Opportunity Commission,
  www.eeoc.gov.

  3.      What is a class action and who is involved?

  In a class action lawsuit, one or more people called “Class Representatives” (in this case
  Roderick Arnold, Nii-Akwei Acquaye, Sean Allen, Hollis Branham, Toya Brown, Dawn
  Collins, Della Dickson, Virginia Douglas, Cheneta Hughey, Jacqueline Jenkins, Keith
  Lewis, Vivian Little, Valerie Mason-Robinson, Anthony Mcdowell, Michael Mitchell,
  Phyllis Reece, Tonya Ross, Charles Scott, Clintonia Simmons, Tausha Tate, Emily Tyler,
  Jacqueline Williams, Cheryl Willis, Steve Wint, and Sean Wright) sue on behalf of other
  people who have similar claims. The people who sued – and all the Class Members like
  them – are called the Plaintiffs. The company they sued (in this case Cargill) is called the
  Defendant. One court resolves the issues for everyone in the Class – except for those
  people who choose to exclude themselves.

  4.      Why is this lawsuit a class action?
   Why is this lawsuit a class action?
  The Court decided that this lawsuit can be a class action and move towards a trial because
  it meets the requirements of Federal Rule of Civil Procedure 23, which governs class
  actions in federal courts. Specifically, the Court found that:

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            There are more than 1,600 Class Member who are or were employed by
            Cargill during the relevant time period;

            There are legal questions and facts that are common to each of them;

            The Class Representatives’ claims are typical of the claims of the rest of the
            Class;

            The Class Representatives and the lawyers representing the Class will fairly
            and adequately represent the interests of the Class;

            The common legal questions and facts are more important than questions that
            affect only individuals; and

            This class action will be more efficient than having many individual lawsuits.

  More information about why the Court is allowing this lawsuit to be a class action is in
  the Court’s Order Certifying the Class, which is available at www.cargillcase.com.




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                          THE CLAIMS IN THE LAWSUIT
  5.     What does the lawsuit complain about?
  . What does the lawsuit complain about?
  In the lawsuit, the Plaintiffs say that Cargill discriminated against African American
  employees. They claim that Cargill’s performance appraisal, compensation, employee
  development, promotion, and termination processes were all used to discriminate, and
  that many African American employees were paid less, not promoted, not trained or
  developed, received lower performance appraisal scores, terminated or forced to leave in
  circumstances where non-African American employees were or would have been treated
  more favorably.       You can read Plaintiffs’ First Amended Complaint at
  www.cargillcase.com.

  6.      How does CARGILL answer?
  w does MNO answer?
  Cargill denies that it did anything wrong.

  7.      Has the Court decided who is right?
  7. Has the Court decided who is right?
  The Court hasn’t decided whether Cargill or Plaintiffs are correct. By establishing the
  Class and issuing this Notice, the Court is not suggesting that Plaintiffs will win or lose
  this case. Plaintiffs must prove their claims at a trial starting [INSERT DATE]. (See “The
  Trial” below on page 7.)

  8.      What are Plaintiffs asking for?
  8. What are the Plaintiffs asking for?
  Plaintiffs are asking for changes in Cargill’s policies to ensure that African American
  employees are treated fairly and equally in the workplace. They want Cargill’s policies
  and practices to ensure that African Americans are not subjected to discrimination.
  Plaintiffs also want lost wages and any other compensatory damages, as well as punitive
  damages to deter and punish Cargill for its past wrongs for Class Members.

  9.      Is there any money available now?
  9. Is there any money available now?
  No money or benefits are available now because the Court has not yet decided whether
  Cargill did anything wrong, and the two sides have not settled the case. There is no
  guarantee that money or benefits ever will be obtained. If they are, you will be notified
  about how to seek monetary relief.




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                                WHO IS IN THE CLASS
  You need to decide whether you are affected by this lawsuit.

  10. Am I part of this Class?
  10. Am I part of this Class?
  Judge Frank decided that all African Americans who were employed by Cargill or will be
  employed between August 22, 1995 and the present are Class Members.

  11. Which current and former employees are included?
  11. Which current and former employees are included?
  Former employees are in the Class as long as they were employed by Cargill any time
  after August 22, 1995. This includes working for any wholly-owned subsidiary of
  Cargill operating in the United States

  12. I’m still not sure if I am included.
  13. I’m still not sure if I am included.
  If you are still not sure whether you are included, you can get free help at
  www.cargillcase.com, or by calling or writing to the Plaintiffs’ lawyers in this case, at the
  phone number or address listed in question 23.




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                            YOUR RIGHTS AND OPTIONS
  You have to decide whether to stay in the Class or ask to be excluded from Class before
  the trial, and you have to decide this now.

  13. What happens if I do nothing at all?
  14. What happens if I do nothing at all?
  You don’t have to do anything now if you want to keep the possibility of getting money
  or benefits from this lawsuit. By doing nothing you are staying in the Class. If you stay in
  and Plaintiffs establish that Cargill did discriminate against the Class, you will be notified
  of how to establish that you were affected by this discrimination and how to pursue your
  claim for damages. You will also be legally bound by all of the Orders the Court issues
  and judgments the Court makes in this class action.

  14. Why would I ask to be excluded?
  15. Why would I ask to be excluded?
  If you already have filed your own race discrimination lawsuit against Cargill asserting
  the same claims as those asserted by the Class and want to continue with it, you need to
  ask to be excluded from the Class. If you exclude yourself from the Class – which also
  means to remove yourself from the Class, and is sometimes called “opting-out” – you
  won’t get any money or benefits from the Class claim even if Plaintiffs obtain them as a
  result of the trial or from any settlement (that may or may not be reached) between
  Cargill and Plaintiffs. However, you may then be able to sue or continue to sue Cargill
  for race discrimination that occurred or occurs at any time. If you exclude yourself, you
  will not be legally bound by the Court’s judgments in this class action. If you start your
  own lawsuit against Cargill after you exclude yourself, you’ll have to hire and pay your
  own lawyer for that lawsuit, and you’ll have to prove your claims. If you do exclude
  yourself so you can start or continue your own lawsuit against Cargill, you should talk to
  your own lawyer soon, because your claims may be subject to a statute of limitations.
  Note that if you exclude yourself from this lawsuit and you are currently employed by
  Cargill, any changes made to Cargill’s policies about the treatment of African Americans
  would still apply to you.

  15. How do I ask the Court to exclude me from the Class?
  16. How do I ask the Court to exclude me from the Class?
  To ask to be excluded, you must send an “Exclusion Request” in the form of a letter sent
  by mail, stating that you want to be excluded from Arnold, et al. v. Cargill, Inc. Be sure
  to include your name and address, and sign the letter. You must mail your Exclusion
  Request postmarked by [INSERT DATE], to: Sprenger & Lang, PLLC, Attn: Cargill
  Litigation Team, 325 Ridgewood Avenue, Minneapolis, MN 55403. You may also get an
  Exclusion Request form at the website, www.Cargillcase.com.




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                      THE LAWYERS REPRESENTING YOU
  16. Do I have a lawyer in this case?
  7. Do I have a lawyer in this case?
  The Court decided that the law firm of Sprenger & Lang, PLLC, of Minneapolis, MN and
  Washington, DC, is qualified to represent you and all Class Members. The law firm is
  called “Class Counsel.” They are experienced in handling similar cases against other
  employers. More information about the law firm, its practices, and its lawyers’
  experience is available at www.sprengerlang.com.18. Should I get my own

  17. Should I get my own lawyer?
  lawyer?
  You do not need to hire your own lawyer because Class Counsel is working on your
  behalf. But, if you want your own lawyer, you will have to pay that lawyer. For
  example, you can ask him or her to appear in Court for you if you want someone other
  than Class Counsel to speak for you.

  18. How will the lawyers be paid?
  19. How will the lawyers be paid?
  If Class Counsel gets money or benefits for the Class, they may ask the Court for fees and
  expenses. You won’t have to pay these fees and expenses. If the Court grants Class
  Counsel’s request, the fees and expenses would be either deducted from any money
  obtained for the Class or paid separately by Cargill.


                                        THE TRIAL
  The Court has scheduled a trial to decide who is right in this case.

  19. How and when will the Court decide who is right?
  20. How and when will the Court decide who is right?
  As long as the case isn’t resolved by a settlement or otherwise, Class Counsel will have
  to prove Plaintiffs’ claims at a trial. The trial is set to start on [INSERT DATE AND
  TIME], in the United States District Court for the District of Minnesota, [INSERT
  STREET ADDRESS], St. Paul, MN [INSERT ZIP CODE], in Courtroom [INSERT
  FRANK COURTROOM NUMBER]. During the trial, a Jury and/or the Judge will hear
  all of the evidence to help them reach a decision about whether Plaintiffs or Defendant
  are right about the claims in the lawsuit. There is no guarantee that Plaintiffs will win, or
  that they will get any money for the Class.

  20. Do I have to come to the trial?
  21. Do I have to come to the trial?
  You do not need to attend the trial. Class Counsel will present the case for Plaintiffs, and
  Cargill will present its defenses. You and/or your own lawyer are welcome to come at
  your own expense.
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  21. Will I get money after the trial?
  he trial?
  If Plaintiffs obtain money or benefits as a result of the trial or a settlement, you will be
  notified about how to participate. We do not know how long this will take.


                         GETTING MORE INFORMATION
  22. Are more details available?
  3. Are more details available?
  Visit the website, www.cargillcase.com, where you will find the Court’s Order Certifying
  the Class, the First Amended Complaint that Plaintiffs submitted, as well as an Exclusion
  Request form. You may also speak to one of the lawyers by calling toll-free (800) 265-
  6531, or by writing to: Sprenger & Lang, PLLC, Attn.: Cargill Litigation Team, 325
  Ridgewood Avenue, Minneapolis, MN 55403.

  DATE: [INSERT DATE].




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